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                                                   THE UNITED STATES DISTRICT COURT FOR
                                                     THE WESTERN DISTRICT OF VIRGINIA
                                                            ROANOKE DIVISION

                     ALISON HESTER,                                 )
                                                                    )
                              Plaintiff,                            )
                                                                    )
                     v.                                             )          Civil Action No. 7:18cv91
                                                                    )
                     CARILION CLINIC MEDICAL PLAN                   )
                     and AETNA LIFE INSURANCE                       )
                     COMPANY,                                       )
                                                                    )
                              Defendants.                           )

                                                         FIRST AMENDED COMPLAINT

                                                             Jurisdiction and Venue

                              1.          Plaintiff’s claims against Defendants are filed pursuant to the provisions of

                     the Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1001 et. seq.

                     (“ERISA”).

                              2.          Pursuant to 29 U.S.C. § 1132(a)(1)(B), Plaintiff seeks an order that clarifies

                     her right to past and future health benefits for mental health treatment under the terms of

                     the Carilion Clinic Medical Plan (hereinafter “The Plan”). Specifically, Plaintiff seeks (a) a

                     declaration and enforcement of rights under The Plan; (b) the payment of past due

                     benefits with pre-judgment interest; (c) a declaration that residential treatment and other

                     related mental health treatments are covered benefits under The Plan; and (d) an award

                     of attorney’s fees and costs.
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                              3.          Venue and jurisdiction are proper pursuant to 29 U.S.C. § 1132(e)-(f).
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                                                                   The Parties

                              4.          Plaintiff Alison Hester was at all relevant times an employee of Carilion
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                     Clinic and a participant under The Plan.

                               5.         Plaintiff has a daughter, “Madeline.” At the relevant time, Madeline was a

                     minor and an eligible dependent and beneficiary under The Plan.

                               6.         The Plan is a medical plan established under ERISA and offered by Carilion

                     Clinic. The Plan is administered by Aetna Life Insurance Company (“Aetna”). Aetna is the

                     named fiduciary for the Plan.

                                                           Background of the Claim

                               7.         Madeline     suffered    from      diagnosed     adjustment      disorder,

                     neurodevelopmental disorder, mood disorder, oppositional defiant disorder, depression,

                     anxiety, and suicidal ideation. Madeline was also diagnosed with borderline personality

                     traits.

                               8.         Madeline showed patterns of anger, lying, stealing, hostile and defiant

                     behavior, and self-harm. She was melancholy and withdrawn. She struggled in school,

                     and her grades fell far below her intellect.          She often got in trouble at school for

                     behavioral issues, including brandishing the blade of a multi-tool at school and repeatedly

                     getting in trouble for being on her phone in class.

                               9.         Starting in seventh grade, Madeline became obsessively involved in sexual

                     aspects of the internet, social media and texting.

                               10.        Due to Madeline’s struggles in school and disciplinary issues, her parents

                     moved her to a private school in eighth grade. But in the fall of 2012, Madeline’s parents
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                     discovered that Madeline suffered from suicidal ideation borne out in comments about
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                     self-harm made to others, made in suicide notes, and made in suicide pacts. Madeline


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                     began working with a therapist and their family doctor, who attempted multiple

                     medications in multiple dosages and varying schedules. The medications and therapy

                     were not effective.

                              11.         Madeline failed eighth grade twice at private school. After this, her parents

                     enrolled her in a summer school at a military academy in order to pass eighth grade.

                              12.         For ninth grade, Madeline returned to public school. She continued to

                     struggle, and she continued to withdraw into a hypersexualized online world.                   In

                     February 2014, Madeline’s parents took her phone and computer from her. But Madeline

                     found old phones around the house and reactivated them via wireless networks. After

                     her parents successfully rid the house of all smart devices, Madeline began talking about

                     running away in addition to her continued talk of self-harm. Madeline even persuaded an

                     acquaintance at school to sell her an iTouch, which she hid from her parents for months.

                              13.         Madeline’s parents created a written contract with Madeline at the

                     beginning of her tenth grade year in 2014 outlining her expected academic performance

                     and expected behavior. But Madeline breached the contract in mere weeks by taking a

                     phone without permission and communicating with online persons who encouraged her

                     to run away. Madeline’s parents then withdrew her from public school and attempted to

                     homeschool her for her tenth grade year.

                              14.         But on October 15, 2014, Madeline stole her parents’ car and money with

                     the intent of driving to Maryland to meet an online stranger. Madeline did not have a
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                     driver’s license and had never even had a driving lesson. Madeline left suicide notes for
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                     her parents. Madeline wrecked the car in Washington, D.C. and attempted to lie to police,


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                     resulting in her being held in a juvenile detention center.

                              15.         When Madeline’s parents picked her up from the juvenile detention center

                     in Washington, D.C., they immediately took her to their local hospital for a one week stay

                     in a short-term adolescent mental health center for crisis stabilization.

                              16.         On October 29, 2014, Madeline was placed at RedCliff Ascent wilderness

                     treatment program in southwest Utah. In a program where participants average a stay of

                     60 days, Madeline had to stay for 111 days. While Madeline attended RedCliff Ascent, her

                     therapists in the program, the psychologist in charge of the program, her therapist in

                     Roanoke, and an adolescent behavioral consultant unanimously decided that it was

                     medically necessary for Madeline to transition to a residential treatment program.

                              17.         In January 2015, Plaintiff called Aetna to ask if any sort of preauthorization

                     was necessary for Madeline to receive treatment in a residential treatment program. She

                     was told in no uncertain terms that if the program is residential, then their Aetna policy

                     covers the stay.          Plaintiff relied on this statement from Aetna in concluding that

                     Madeline’s residential treatment program would be covered. Otherwise, Plaintiff would

                     have utilized alternative treatment options for Madeline.

                              18.         Accordingly, Madeline was placed at Uinta Academy (“Uinta”) in northeast

                     Utah in February 2015. Uinta is a licensed, clinically-intensive, residential treatment

                     center designed specifically to treat adolescent girls with Madeline’s diagnostic profile.

                     During Madeline’s treatment at Uinta, she frequently referenced suicidal ideation.
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                              19.         On August 5, 2015, Plaintiff’s healthcare advocate phoned Aetna to verify
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                     insurance coverage for Madeline’s mental health treatment. An Aetna representative


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                     stated that mental health residential treatment services were payable at 50% until they

                     reached the out-of-pocket maximum and then at 100% with no yearly or lifetime

                     maximums.            Again, Plaintiff relied on this statement from Aetna in concluding that

                     Madeline’s residential treatment program would be covered. Otherwise, Plaintiff would

                     have utilized alternative treatment options for Madeline.

                              20.         Despite these assurances by Aetna representatives, Plaintiff received a

                     denial letter dated September 30, 2015 in which Aetna denied coverage of the Uinta

                     services because “[s]ervices from an unlicensed or non-certified provider are not eligible

                     for coverage …”

                              21.         Plaintiff later received an Explanation of Benefits form dated October 2,

                     2015 which denied coverage of the Uinta services because “[a]ll or a portion of this

                     confinement could have been safely and adequately managed at an alternate level of

                     care…”

                              22.         On March 23, 2016, Plaintiff appealed. By letter dated April 26, 2016,

                     Defendant denied the appeal and stated that the Uinta services were not medically

                     necessary, that the inpatient stay could have been safely managed at a lower level of care,

                     and that the facility did not meet Aetna’s eligibility criteria because there was not a

                     licensed behavioral health provider on-site 24 hours a day. Aetna specifically cited to the

                     “medical necessity” requirements of The Plan.

                              23.         On June 24, 2016, Plaintiff again appealed. By letter dated July 30, 2016,
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                     Defendant denied the appeal for the same reasons. In this denial, Aetna specifically cited
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                     to its Level of Care Assessment Tool (“LOCAT”).


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                              24.         On November 17, 2016, Plaintiff requested an independent review. On

                     February 1, 2017, the independent review organization upheld Defendant’s denial of

                     coverage stating that Uinta services were not medically necessary as 24 hour monitoring

                     was not necessary.

                              25.         On February 1, 2017, Defendant sent a letter to Plaintiff indicating that the

                     independent review was the final level of review under The Plan.

                              26.         On July 10, 2017, Plaintiff issued a demand letter to Aetna.        Plaintiff

                     received a letter dated October 27, 2017 from Aetna again stating that Plaintiff had

                     exhausted the levels of appeal available under the Plan.

                              27.         As such, Plaintiff has exhausted all administrative remedies as

                     contemplated under The Plan.

                              28.         Based on the foregoing facts, Plaintiff asserts that pursuant to 29 U.S.C. §

                     1132(a)(1)(B), Defendants improperly denied benefits and that she is entitled to recover

                     such benefits under the terms of The Plan, to enforce her rights under the terms of The

                     Plan, and to clarify her rights to future benefits under the terms of The Plan.

                                                                Relief Sought

                              Plaintiff requests that this Court enter an order declaring the following:

                              a.          That Defendants have violated the terms of the Plan, that the decision to

                     deny benefits in this case was not only wrong, but arbitrary and capricious, and an abuse

                     of discretion in light of independent medical and legal reviews which advised Defendants
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                     that the denial of these claims had no merit, that Defendants’ denial was based on
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                     inconsistent and unsupported rationales regarding medical necessity despite Madeline’s


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                     medical providers’ recommendations and her medical history, and that Defendants

                     violated their duties under the Plan by, including but not limited to indicating on the

                     telephone twice that Uinta services would be covered and then denying coverage.

                              b.          That residential treatment, such as Uinta, is covered under The Plan.

                              c.          That all benefits be paid, consistent with other plan terms as to amounts of

                     payment, together with interest, costs, and attorney fees.

                              d.          That there be a complete and accurate accounting of all claims paid

                     together with a clear explanation as to how The Plan arrived at the amounts it has paid.

                              e.          That Defendant be directed to pay all future claims related to Plaintiff’s

                     daughter, Madeleine, for residential treatment, such as Uinta, and related mental health

                     treatment as long as the Plaintiff remains a participant under The Plan and as long as

                     Madeline remains a beneficiary under The Plan.

                              f.          That Plaintiff be awarded any remedial relief and equitable relief, or any

                     other relief that this Court deems just and proper.

                                                                      Respectfully submitted,

                                                                      /s/ John C. Johnson
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                                                                      Katherine M. DeCoster
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                                                       CERTIFICATE OF SERVICE

                              I hereby certify that on this 19th day of June, 2018, I electronically filed the

                     foregoing with the Clerk of Court using the CM/ECF system, which will send notification

                     of such filing to all counsel of record:

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